Case 2:24-cv-00228-WBV-DPC   Document 88-21   Filed 03/03/25   Page 1 of 7




                   EXHIBIT T
 Case 2:24-cv-00228-WBV-DPC            Document 88-21      Filed 03/03/25   Page 2 of 7



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

KATHLEEN MOLLER                                *   CIVIL ACTION NO. 24-0228-WBV-DPC
                                               *
VERSUS                                         *   JUDGE WENDY B. VITTER
                                               *
MARTIAN SALES, INC; JOPEN, LLC, a              *   MAGISTRATE      DONNA      PHILLIPS
Texas      limited      liability   company;   *   CURRAULT
JOHNSON FOODS, LLC, a Wyoming                  *
limited liability company; LP IND., LLC,       *
a Wyoming limited liability company;           *
CAG HOLDINGS, LLC, a Wyoming                   *
limited      liability     company;    RMH     *
HOLDINGS,            INC.,      a   Wyoming    *
corporation;          ABC        INSURANCE     *
COMPANY and John Does 1-4.                     *
************************                       *


      TO:    Martian Sales, Inc.;
             Defendants.

      ON BEHALF OF: Plaintiff, Kathleen Moller

      Pursuant to commission under FRCP 30(b)(6), Plaintiff provides notice and

demands that Martian Sales, Inc. (hereinafter referred to as “Martian Sales”)

designate in writing the matters on which such persons will testify and produce for

deposition one or more officers, directors, managing agents and/or other persons who

consent to testify on Martian Sales’ behalf as to the following matters known or

reasonably available to Martian Sales, via remote deposition on October 28, 2024 at
10:00AM EST before an official court reporter and videographer, and to be continued
thereafter until conclusion as necessary. Please designate such persons by

completing and mailing or delivering a copy of this subpoena to the undersigned in

advance of the deposition.

      In this discovery, term “affiliate” refers to any organizations, individual

persons, or business concerns with any shared management or ownership with

Martian Sales, Inc.; doing business as or for Martian Sales, Inc.; predecessors or

successors of Martian Sales, Inc.; owning Martian Sales, Inc.; and/or controlling or
 Case 2:24-cv-00228-WBV-DPC          Document 88-21   Filed 03/03/25   Page 3 of 7




controlled by Martian Sales, Inc. The term “person” refers to any human as well as

natural and legal entities.

     Plaintiff requests examination on the following matters:

     1.   The quality, quantity, and nature of all contacts between Martian Sales

          and its affiliates (including Mark Reilly) with and within the state of

          Louisiana.

                              a. Person Designated:

                                     i. /s/

                              b. Office or title:

                                     i. /s/

     2.   The marketing, distribution, sale, and licensing of OPMS kratom products

          sold in the state of Louisiana.

                              a. Person Designated:

                                     i. /s/

                              b. Office or title:

                                     i. /s/

     3.   The relationship of Martian Sales and its affiliates to the OPMS brand

          kratom products.

                              a. Person Designated:
                                     i. /s/

                              b. Office or title:

                                     i. /s/

     4.   The relationship of Martian Sales and any other named defendant.

                              a. Person Designated:

                                     i. /s/

                              b. Office or title:
                                     i. /s/
Case 2:24-cv-00228-WBV-DPC      Document 88-21   Filed 03/03/25   Page 4 of 7




   5.   The identity of any person(s) who have done business as OPMS or who

        have manufactured, distributed, or sold OPMS branded kratom in

        Louisiana.

                         a. Person Designated:

                                i. /s/

                         b. Office or title:

                                i. /s/

   6.   The timeframes that Martian Sales (or any affiliate of Martian Sales)

        received income or payments related to the design, development,

        manufacturing, marketing, licensing, and/or sale of OPMS branded

        kratom sold in Louisiana.

                         a. Person Designated:

                                i. /s/

                         b. Office or title:

                                i. /s/

   7.   The nature and extent of Mark Reilly's affiliation with businesses and

        entities that have developed, manufactured, marketed, licensed, and/or

        sold OPMS branded kratom.

                         a. Person Designated:
                                i. /s/

                         b. Office or title:

                                i. /s/

   8.   The timeframes that Mark Reilly received income or payments arising

        from the development, marketing, licensing, and/or sale of OPMS kratom.

                         a. Person Designated:

                                i. /s/
                         b. Office or title:
     Case 2:24-cv-00228-WBV-DPC                     Document 88-21       Filed 03/03/25   Page 5 of 7




                                                    i. /s/

           9.     The facts and details surrounding the negotiation, execution, and

                  implementation of the “Intellectual Property License Agreement”

                  executed on October 1, 2014, between Martian Sales, Inc. (licensor) and

                  Eri Wahyu Hidayat (licensee) 1.

                                           a. Person Designated:

                                                    i. /s/



                                           b. Office or title:

                                                    i. /s/

           10. The identities of entities and persons involved in the design and

                  development of OPMS kratom products, including the technologies and

                  processes utilized to create such products.

                                           a. Person Designated:

                                                    i. /s/

                                           b. Office or title:

                                                    i. /s/

           11. The identities of entities and persons involved in the manufacture,

                  marketing, distribution, and sale of OPMS kratom products in the five
                  years preceding Harmony Moller’s death.

                                           a. Person Designated:

                                                    i. /s/

                                           b. Office or title:

                                                    i. /s/




1
    A copy of the licensing agreement is attached hereto as Exhibit 1.
Case 2:24-cv-00228-WBV-DPC       Document 88-21     Filed 03/03/25   Page 6 of 7




   12. The relationship of Martian Sales and its affiliates to each of the entities

       and persons referenced in the two preceding topics.

                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/

   13. The relationship and activities of Mark Reilly on behalf of Martian Sales,

       Inc.

                          a. Person Designated:

                                 i. /s/

                          b. Office or title:

                                 i. /s/



                                    Respectfully submitted,


                                    By: /s/Michael Cowgill
                                       Michael J. Cowgill (FL Bar # 1010945)
                                       Admitted pro hac vice
                                       Tamara J. Williams (FL Bar #127625)
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                                          -and-

                                          NELSON W. WAGAR, III (No. 13136)
                                          SARAH WAGAR HICKMAN (No.
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  Case 2:24-cv-00228-WBV-DPC        Document 88-21      Filed 03/03/25    Page 7 of 7




                                           Attorneys     for   Plaintiff,    Kathleen
                                           Moller



                           CERTIFICATE OF SERVICE

      I do hereby certify that I have on this 24th day of September, 2024 served a

copy of the foregoing pleading on counsel for all parties to this proceeding via

electronic mail, facsimile, and/or by U.S. mail, properly addressed with first-class

postage prepaid.



                                           /s/ Michael Cowgill
                                           Michael J. Cowgill
